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                                          #:6558
                                                                      U.S. Department of Justice
                                                                      Consumer Protection Branch




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                                                            December 27, 2023

  VIA FEDEX

  Jonathan D. Gershon
  Larson LLP
  555 South Flower Street
  30th Floor
  Los Angeles, CA 90071

           Re:      United States v. Jason Edward Thomas Cardiff,
                    5:23-cr-00021-BERNAL (C.D. Cal)

  Dear Counsel:

          Enclosed please find the government’s first discovery production in the above-
  captioned matter. The enclosed production is provided on a hard drive. The password to
  access the drive will be emailed to you separately. As discussed, there are more than seven
  million documents in the government’s possession, and we are working to produce all
  relevant materials as expeditiously as possible. However, it is worth noting that the
  defendant may already be in possession of a significant number of these documents.

          The first production contains approximately 118,600 documents. Within this first
  production, we have produced 152 “notable documents” – that is to say, certain documents
  that the government would likely rely upon in its case in chief at trial. We are also
  producing agent-generated materials, grand jury subpoena returns, search warrant
  materials, and documents received from Redwood’s former customer relationship
  management (CRM) system, Sticky.io f/k/a Limelight. For your convenience, the
  documents in Production 1 are produced both in load-ready format, as searchable PDFs,
  and in some cases, in native format. Pursuant to the stipulated protective agreement
  regarding the proposed protective order, the government is identifying all of these
  documents as CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER. In addition, per
  our communications, in the interest of cooperation, we are providing these documents prior
  to the Court entering the protective order with the understanding that these documents will
  be treated as if the protective order were already in place.
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         Below, please find an overview of the documents contained in Production 1:

     •   “Notable Documents.” Documents that the Government will likely rely upon in its
         case in chief. The majority of these documents come from the FTC’s Lighthouse
         database, and a small number come from the Receiver’s Google Drive production
         and the Sticky.io production.

     •   Agent-Generated Materials. This production contains the memoranda of interviews
         (MOIs), Memoranda to File (MTFs), and Memoranda of Activity (MOA) generated
         during the investigation of this matter. The Bates prefix for this set of materials
         begins with “GOV_MOI.” These 64 documents are not in load-ready format but
         are in pdf format.

     •   Subpoena Returns. Grand Jury subpoena returns produced during the course of the
         Government’s investigation. The subpoena returns contain bank information
         related to your client and his business operations, payment processor data and
         correspondence, and information related to the operation of Redwood Scientific
         Technologies, Inc.

     •   Sticky.io (f/k/a Limelight) information. Sticky.io was Redwood’s customer
         relationship management (CRM) system software throughout the period in
         question.

     •   Google search warrant return. Information from Jason Cardiff’s YouTube account.

     •   An imaged copy of Danielle Walker’s (a/k/a Danielle Cadiz) Redwood laptop.


  An index detailing the bate stamp ranges for each document set will be attached to this
  letter.

          Please note that the Government also maintains a copy of the docket in the FTC’s
  civil case against your client, FTC v. Jason Cardiff, 18-cv-02104-DMG. As this docket
  involves your client and is also available to the public, we will not include it in our
  discovery productions. However, if you would like us to provide you with a copy of the
  docket, please let us know.

           To the extent that the enclosed materials and any future discovery provided to you
  exceeds the scope of discovery mandated by the Federal Rules of Criminal Procedure,
  federal statute, or relevant case law, such materials are provided voluntarily and solely as
  a matter of discretion. By producing such materials to you, the government does not waive
  its right to object to any future discovery requests beyond the ambit of its legal obligations.
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          With this letter the government also requests all reciprocal discovery to which it is
  entitled under Rule 16(b) and 26.2 of the Federal Rules of Criminal Procedure. The
  government also requests pursuant to Rules 12.1, 12.2, and 12.3 all notice of intention of
  your clients to rely on an entrapment defense, a defense involving mental condition or
  duress, an alibi defense, or a public-authority defense.

                                                        Respectfully,



                                                        Manu J. Sebastian
                                                        Trial Attorney
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                              Production 1 Index

BEG BATES           END BATES              DESCRIPTION
GOV_MOI_000001      G0V_MOI_001076         Agent Materials (USPIS MOIs, MTFs, etc.)
GOV001_00000001     GOV001_00000335        Notable Documents (Lighthouse and Receiver)
  GOV001_00025445      GOV001_00025452     Notable Documents (Sticky.io production)
  GOV001_00025919      GOV001_00025924     Notable Documents (Sticky.io production)
GOV001_00000336     GOV001_00000753        Sticky.io (f/k/a Limelight) Documents
GOV001_00000754     GOV001_00001875        Discover (Subpoena Return)
GOV001_00001876     GOV001_00001977        First City Credit Union (Subpoena Return)
GOV001_00001978     GOV001_00002046        East-West Bank (Subpoena Return)
GOV001_00002047     GOV001_00002226        Bank of America (Subpoena Return)
GOV001_00002227     GOV001_00010271        Clear Trust (Subpoena Return)
GOV001_00010272     GOV001_00010272        Coin Base (Subpoena Return)
GOV001_00010273     GOV001_00010771        TD Ameritrade (Subpoena Return)
GOV001_00010772     GOV001_00011060        Meadows Bank (Subpoena Return)
GOV001_00011061     GOV001_00012651        JP Morgan Chase (Subpoena Return)
GOV001_00012652     GOV001_00013691        Payday Workforce Solutions (Subpoena Return)
GOV001_00013692     GOV001_00013722        Vantiv (FIS) (Subpoena Return)
GOV001_00013723     GOV001_00014340        Paychex (Subpoena Return)
GOV001_00014341     GOV001_00021171        American Express (Subpoena Return)
GOV001_00021172     GOV001_00021935        Answering Specialists (Subpoena Return)
GOV001_00021936     GOV001_00021938        FreeVoice (Subpoena Return)
GOV001_00021939     GOV001_00022492        UPIC Insurance Services (Subpoena Return)
GOV001_00022493     GOV001_00022618        Sticky.io (f/k/a Limelight) Documents
GOV001_00022619     GOV001_00025282        Answer Connect (Subpoena Return)
GOV001_00025283     GOV001_00026148        Sticky.io (f/k/a Limelight) Documents
GOV001_00026149     GOV001_00027218        Answer Connect (Subpoena Return)
GOV001_00027219     GOV001_00029792        EMC2 Billing (Subpoena Return)
GOV001_00029793     GOV001_00029884        Google (Subpoena Return)
GOV001_00029885     GOV001_00029927        Stamps.com (Subpoena Return)
GOV001_00029928     GOV001_00030109        JP Morgan Chase (Subpoena Return)
GOV001_00030110     G0V001_00030182        Google Search Warrant Return
GOV001_00030183     GOV001_00030683        Sticky.io (f/k/a Limelight) Documents
GOV001_00030684     GOV001_00031187        Grand Valley (Subpoena Return)
GOV001_00031188     GOV001_00275824        Danielle Walker (a/k/a Danielle Cadiz) Laptop
GOV001_00275825     GOV001_00275971        Chino Commercial Bank (Subpoena Return)
GOV001_00275972     GOV001_00276413        Mountain Grove Office Park (Subpoena Return)
GOV001_00276414     GOV001_00276655        Elavon (Subpoena Return)
GOV001_00276656     GOV001_00276747        JP Morgan Chase (Subpoena Return)
